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              At a Term of the Appellate Division of the Supreme
          Court held in and for the First Judicial Department in
          the County of New York on June 9, 2016.


Present - Hon. Peter Tom,                         Justice Presiding,
               Rolando T. Acosta
               Rosalyn H. Richter
               Sallie Manzanet-Daniels
               Ellen Gesmer,                      Justices.

---------------------------------------X
Mariners Cove Site B Associates,

     Petitioner-Landlord,

               -against-                               M-1525
                                                   Index No. 63974/14
Dr. Steven Greer,

     Respondent-Tenant.
---------------------------------------X


     Respondent-tenant having moved for leave to appeal to this
Court from an interlocutory order of the Appellate Term entered
in the office of the Clerk of the Supreme Court, New York County,
on or about March 15, 2016, and for a stay of a warrant of
eviction pending hearing and determination of this motion and the
the proposed appeal to this Court,

     Now, upon reading and filing the papers with respect to the
motion, and due deliberation having been had thereon,

     It is ordered that the motion, with respect to leave to
appeal to this Court from the interlocutory order of the
Appellate Term is denied, and the stay of eviction and related
relief, is denied as academic.

                     ENTER:




                                         _____________________
                                                 CLERK




                                                                          LD001920
